




NO. 07-08-0103-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MARCH 12, 2008

______________________________



In the Interest of K.J.S. and K.A.S., Children

_________________________________



FROM THE 320th DISTRICT COURT OF POTTER COUNTY;



NO. 64,615-D; HON. DON R. EMERSON, PRESIDING

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MEMORANDUM OPINION

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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Appellant Kenneth James Shaw filed a notice of appeal on February 28, 2008. &nbsp;However, he did not pay the $175 filing fee required from appellants under Texas Rule of Appellate Procedure 5. &nbsp;Nor did he file an affidavit of indigence per Texas Rule of Appellate Procedure 20.1. &nbsp;By letter from this Court dated February 29, 2008, we informed appellant’s counsel that the filing fee in the amount of $175.00 had not been paid and if not paid “within ten (10) days from the date of this notice” the appeal may result in dismissal. &nbsp;
Tex. R. App. 
P. 42.3(c); 
see Holt v. F. F. Enterprises
, 990 S.W.2d 756 (Tex. App.–
Amarillo 1998, pet. ref’d). &nbsp;The deadline lapsed, and the fee was not received. 
	

Because appellant failed to pay the requisite filing fee as directed by the court, we dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.3(c). 



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Per Curiam


